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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION



 PHERAH LLC,

      Plaintiff,
                                                         CIVIL ACTION NO 6:15-cv-983-JRG
      v.

 MICROSTRATEGY INC.,                                     JURY TRIAL DEMANDED
      Defendant.


                    ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal

With Prejudice of all claims and counterclaims asserted between plaintiff, Pherah

LLC, and defendant Microstrategy Inc., in this case (Dkt. No. 5), and the Court being of

the opinion that said motion should be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit

between plaintiff, Pherah LLC, and defendant, Microstrategy Inc., are hereby dismissed

with prejudice, subject to the terms of that certain agreement entitled “AGREEMENT”

and dated December 31, 2015.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the

party that incurred them.
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So Ordered and Signed on this

Jan 12, 2016
